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                              EXHIBIT 4
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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                      MIAMI DIVISION


    ALEKSEJ GUBAREV,
    XBT HOLDINGS S.A., and
    WEBZILLA, INC.                                                        Case No.
      Plaintiffs,
                                                                     0:17-cv-60426-UU
    v.

    BUZZFEED, INC. and
    BEN SMITH
      Defendants.


                  PLAINTIFFS’ THIRD REQUEST FOR PRODUCTION OF
                DOCUMENTS AND THINGS TO DEFENDANT BUZZFEED, INC.

          Plaintiffs, by and through undersigned counsel, and pursuant to Federal Rule of Civil
   Procedure 34, hereby propound the following Third Request for Production of Documents and
   Things to Defendant Buzzfeed, Inc., to produce and make available for inspection and
   duplication, in response to each numbered paragraph, all documents specified herein that are in
   Defendant’s possession, custody or control or in the possession, custody or control of its agents
   or attorneys. Defendant is requested to make such production within thirty (30) days from the
   date of service. Defendant is requested to make production electronically. If Defendant elects to
   produce in physical form, Defendant is requested to make production to Ciampa Fray-Witzer,
   LLP, 20 Park Plaza, Suite 505, Boston, MA 02116.
                                                Definitions
          (1)     The term “you” and “your” and “Buzzfeed” means the Defendant Buzzfeed, Inc.,
   its subsidiaries and parent companies, including each of their respective officers, directors,
   employees, agents, and all other persons acting or purporting to act on their behalf.
          (2)     The term “Ben Smith” means the Defendant Ben Smith, including his agents, and
   all other persons acting or purporting to act on their behalf.
          (3)     The term “Plaintiffs” means all the Plaintiffs in this action.
          (4)     The term “Gubarev” means the Plaintiff Aleksej Gubarev.
          (5)     The term “XBT” means the Plaintiff XBT Holdings S.A.

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          (6)     The term “Webzilla” means the Plaintiff Webzilla, Inc.
          (7)     The term “Defendants” means Buzzfeed and Ben Smith, as defined above.
          (8)     The term “Dossier” means the document file embedded in and referenced in the
   article Buzzfeed published on January 10, 2017 entitled “These Reports Allege Trump Has Deep
   Ties to Russia,” referenced in the Complaint in this matter.
          (9)     The term “US Government” means any part of the United States federal
   government, including, without limitation, the executive branch, legislative branch, or judicial
   branch (or any part thereof), and any and all departments, agencies and committees of the United
   States federal government.
          (10)    The term “communication” means any statement or utterance, whether written or
   oral, made by on person to another, or in the presence of another, or any document delivered or
   sent from one person to another.
          (11)    The term “concerning” means consisting of, referring to, reflecting or in any way
   logically or factually connected with the matter discussed. A document “concerning” a given
   subject is any document identifying, showing, referring to, dealing with evidencing, commenting
   upon, having as a subject, describing, summarizing, analyzing, explaining, detailing, outlining,
   defining, interpreting, or pertaining to that subject, including without limitation, documents
   referring to the presentation of other documents.
          (12)    “Or” shall mean and/or;
          (13)    The term “documents” means all writings or graphic matter or other means of
   preserving thought or expression of any kind, including the originals and all identical copies,
   whether different from the original by reasons of any notation made on such copies or otherwise
   including, without limitation, e-mails, letters, text messages, social media messages,
   correspondence, memoranda, notes, diaries, studies, checks, statements, receipts, returns,
   summaries, pamphlets, books, prospectuses, interoffice and intraoffice telephone calls, meetings
   or other communications, bulletins, printed matter, computer printouts, teletypes, telefax,
   invoices, worksheets, photographs, contracts, computer data, hard drives, correspondence,
   transcripts, schedules, affidavits, graphs, videotapes, tape recordings, motions pictures or other
   films (and all drafts, alternations, modifications, changes and amendments of any of the
   foregoing). It shall also include any electronically stored data on any media.



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          (14)    The term “all documents” means every document as above defined known to you
   and every such document, which can be located or discovered by reasonably diligent efforts,
   whether in electronic format or in physical format.
          (15)    The term “person” means any natural person, corporation, partnership,
   proprietorship, association, organization, or group of natural persons.
                                               Instructions
          (1)     All documents shall be produced as they are kept in the usual course of business
   or shall be organized and labeled to correspond with the numbered paragraphs of these Requests.
          (2)     If no documents are responsive to a particular category, you should state so in
   writing.
          (3)     When producing the documents, please keep all documents segregated by the file
   in which the documents are contained and indicate the name of the file in which the documents
   are contained and the name of the documents being produced.
          (4)     With respect to each document or thing which is withheld, whether under claim of
   privilege, work product, or otherwise, provide the following information with sufficient
   particularity to allow counsel to evaluate the claim of privilege:
                  (i)     the date, identity and general subject matter of the document or thing, and
          the grounds asserted in support of the failure to produce the document or thing;
                  (ii)    the identity of each person (other than stenographic or clerical assistants)
          participating in the preparation of the document or thing;
                  (iii)   the identity of each person to whom the contents of the document or thing
          was communicated orally, by copy, by distribution, reading or substantial summarization;
                  (iv)    a description of any document or other material transmitted with or
          attached to the document or thing;
                  (v)     the number of pages in the document;
                  (vi)    the particular Request(s) (and subpart(s)) to which the document or thing
          is responsive; and
                  (vii)   whether any business or non-legal matter is contained or discussed in the
          document or thing.
          (5)     With respect to each document or thing which has been lost or destroyed since its
   preparation or receipt, identify the thing or document, state the particular request or requests to

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   which it would otherwise be responsive, and set forth in detail the circumstances of the loss or
   destruction thereof.
           (6)     If you object to responding to only part of a Request, specify the part to which
   you object and respond to the remainder.
           (7)     These Requests are continuing and you are requested to promptly supplement the
   documents produced and/or objections made if you obtain additional information or documents
   requested.
                                                   Requests
           Request No. 70.         Historical audited financial statements for Buzzfeed and any of its
   subsidiaries for the last five (5) years, with all accompanying notes, including, without
   limitation, income statements, balance sheets and cash flow statements.
           Request No. 71.         Any and all documents setting forth future financial projections for
   Buzzfeed.
           Request No. 72.         Any and all documents referencing, reflecting, or concerning any
   rounds of capital raised for Buzzfeed, including, without limitation, documents indicating post-
   money valuation of Buzzfeed, interests granted to investor(s), the total amount of funds raised,
   and any valuation performed in connection with the transaction(s).
           Request No. 73.         To the extent not covered by Request No. 72, any other valuations
   of Buzzfeed performed within the last ten years.
           Request No. 74.         All documents referencing, reflecting, or concerning the total
   views of the article Buzzfeed published on January 10, 2017 entitled “These Reports Allege
   Trump Has Deep Ties to Russia” (the “Article”) through the present.
           Request No. 75.         All documents referencing, reflecting, or concerning the total
   views of other articles published by Buzzfeed that reference the Article or the Dossier, including,
   but not limited to articles that cite the article or Dossier, or articles that provide a link to the
   original article or Dossier.
           Request No. 76.         All documents referencing, reflecting, or concerning the upstream
   traffic to the Article and other articles published by Buzzfeed that reference the Article or the
   Dossier, including documents that indicate the sources of web traffic to the same.
           Request No. 77.         All documents referencing, reflecting, or concerning the
   downstream traffic from the Article and other articles published by Buzzfeed that reference the

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   Article or the Dossier, including documents that indicate where users went to after viewing the
   same.
           Request No. 78.       All documents, referencing, reflecting, or concerning the monthly
   active users of the Buzzfeed.com website, any Buzzfeed mobile platform, or any Buzzfeed social
   media accounts for the past five (5) years.
           Request No. 79.       All documents, referencing, reflecting, or concerning the daily
   active users of the Buzzfeed.com website, any Buzzfeed mobile platform, or any Buzzfeed social
   media accounts for the past five (5) years.
           Request No. 80.       All documents, referencing, reflecting, or concerning the monthly
   pageviews of the Buzzfeed.com website, any Buzzfeed mobile platform, or any Buzzfeed social
   media accounts for the past five (5) years.
           Request No. 81.       All documents, referencing, reflecting, or concerning the daily
   pageviews of the Buzzfeed.com website, any Buzzfeed mobile platform, or any Buzzfeed social
   media accounts for the past five (5) years.
           Request No. 82.       Access to Buzzfeed’s Google Analytics accounts and any other
   comparable analytics provider used by Buzzfeed.


   Respectfully Submitted:
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                                    CERTIFICATE OF SERVICE
           I hereby certify that a true and correct copy of the foregoing was served electronically
   via email on all counsel or parties of record on the service list below on this 26th day of January,
   2018.
                                                         /s/ Matthew Shayefar
                                                         Matthew Shayefar

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